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                             IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF PUERTO RICO


 UNITED STATES OF AMERICA
 Plaintiff
 vs                                                        CRIMINAL 05-0133CCC
 1) MATEO MALDO NADO -CABRERA
 a/k/a Teo (Counts One and Two)
 2) JAVIER REYES-TORRES
 a/k/a Héctor (Counts One and Two)
 3) NORMA I. CARTAGENA
 a/k/a Ive (Counts One and Two)
 4) RAULMEDINA-CRUZ
 a/k/a Juanito (Counts One and Two)
 5) NORMA J. FLORES-COLON
 a/k/a Judith (Counts One and Two)
 6) LUIS D. M ARTINEZ-RUIZ
 a/k/a Davisito (Counts One and Two)
 7) RUBEN LUGO-CARTAGENA
 a/k/a Rubencito (Counts One and Two)
 8) JOSEAN PIÑERO-RODRIGUEZ
 a/k/a Josean (Counts One and Two)
 9) JOSE MIGUEL V EGA-RIVERA
  a/k/a Gelín (Counts One and Two)
 10) MARCOS CHUPANI-MALAVE
 a/k/a Marquitos (Counts One and Two)
 Defendant

                                               O R D E R
        Having considered the Report and Recommendation filed on May 22, 2006 (docket entry
241) on a Rule 11 proceeding of defendant Rubén Lugo-Cartagena held before Chief U.S. M agistrate
Judge Justo Arenas on May 19, 2006, to which no opposition has been filed, the same is APPROVED.
Accordingly, the plea of guilty of defendant Rubén Lugo-Cartagena is accepted. The Court FIND S that
his plea was voluntary and intelligently entered with awareness of his rights and the consequences of
pleading guilty and contain all elem ents of the offense charged in the indictm ent.
        This case was referred to the U.S. Probation Office for preparation of a Presentence Investigation
Report since May 19, 2006. The sentencing hearing is set for August 24, 2006 at 4:30 PM.
       SO ORDERED .
       At San Juan, Puerto Rico, on May 31, 2006.


                                                        S/CARMEN CONSUELO CEREZO
                                                        United States District Judge
